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                      UNITED STATES DISTRICT COURT
                       DISTRICT OF SOUTH DAKOTA
                           WESTERN DIVISION

Priya Saxena,                                  )
                                               )
      Plaintiff,                               )
                                               )
v.                                             )
                                                          5:25-cv-5035
                                                     Civ. - ---
                                               )
Kristi Noem, in her official capacity as       (
Secretary of Homeland Security;                )
the Department of Homeland Security;           )
and Todd Lyons, in his official capacity       )
as Acting Director of U.S. Immigration         )
and Customs Enforcement,                       )
                                               )
      Defendants.                              )
----------)




                   Complaint for Temporary Restraining Order
                   and Preliminary and Permanent Injunction

                           Immediate Relief Requested
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                                      Parties

      1.    Priya Saxena is a citizen of the country of India and a student at the

South Dakota School of Mines and Technology, who is lawfully in the United States.

As of January 2025, she was an author of twelve peer-reviewed journal publications,

with two more under review, and two published book chapters. On April 1, 2025,

she successfully defended her Ph.D. thesis in Chemical and Biological Engineering.

She was scheduled to graduate on May 10, 2025-until the events described in this

lawsuit occurred.

      2.    Kristi Noem is the Secretary of Homeland Security and has ultimate

authority over the Department of Homeland Security (DHS). In that capacity and

through her agents, Secretary Noem has broad authority over the operation and

enforcement of the immigration laws. She is sued in her official capacity.

      3.     DHS is a cabinet-level department of the Executive Branch of the federal

government and is an "agency" within the meaning of 5 U.S.C. § 551(1). DHS has

a number of component agencies, including the U.S. Immigration Customs and

Enforcement (ICE).

       4.    Todd Lyons is Acting Director of ICE. In that capacity and through his

 agents, Acting Director Lyons, like Secretary Noem, has broad authority over the


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operation and enforcement of the immigration laws. He is sued in his official

capacity.

                              Jurisdiction and Venue

        5.   This Court has jurisdiction under 28 U.S.C. § 1331 (federal question)

and 28 U .S.C. § 1346(b) (federal defendant), and has authority to issue a declaratory

judgment under 28 U.S.C. § 2201-02. Venue is appropriate in this District because

plaintiff resides here.

                                         Facts

        6.   Priya Saxena is lawfully present in the United States in F-1 status for the

duration of her F-1 program, her entry based on an F-1 visa expiring February 9,

2027.

        7.   At all times relevant to this action, Saxena has been a bona fide student

 pursuing a full course of study within the meaning of the Immigration and

 Nationality Act ("INA"), 8 U.S.C. § 1101(15)(F)(i), and was making normal progress

 toward completion of a course of study, within the meaning of 8 CFR § 214.2(f)(5).

        8.    On April 7, the Consular Information Unit in the U.S. Embassy in New

 Delhi wrote Saxena that based on "additional information [that] became available

 after your visa was issued," her visa was revoked. It advised her that it "has alerted


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the Department of Homeland Security's Immigration and Customs Enforcement,

which manages the Student Exchange Visitor Program and is responsible for

removal proceedings," and that "They may notify your designated school official

about the revocation of your F-1 visa."

      9.    Later on April 7, Beth Riley, the PDSO (Primary Designated School

Official) at the School of Mines and Technology, informed Saxena that "as of April

4, 2025, your SEVIS [Student and Exchange Visitor Information System] immigration

record has been terminated by the Department of Homeland Security."

      10.   Riley informed Saxena that "The reason cited on your SEVIS record for

your immigration record termination is: TERMINATION REASON; OTHERWISE

FAILING TO MAINTAIN STATUS - Individual identified in criminal records check

and/or has had their VISA revoked. SEVIS record has been terminated."

      11.   DHS' s revocation of Saxena' s visa did not revoke her status as a student

lawfully in the United States, and did not revoke her SEVIS record and status.

      12.   Termination of Saxena' s F-1 student status under the SEVIS system

results in her inability to continue her student program and even to graduate on

May 10. And it allows her to be subject to removal proceedings.




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      13.    A Declaration of Dahlia M. French, Esq., an expert in immigration law,

filed on April 12 in Liu v. Noem, D. N. H. No. 1:25-cv-00133-SE-TSM, Doc. 14, a case

similar to this one, explains how the SEVIS program works. Ms. French explains:

"Both the Department of State and ICE have stated that visa revocation has no effect

on visa status. Those statements are correct. ... There has been no time when ICE

terminated a SEVIS record solely due to visa revocation; an FBI criminal check 'hit';

or even evidence of a misdemeanor conviction.          This is because, by its own

guidance, ICE knows that visa revocation does not equate to a loss of visa status or

trigger SEVIS record termination." Exhibit 1 err 15.

      14.    Ms. French also explains that "[a] SEVIS record termination may occur

because of "some mistake by an immigration agency that creates a termination

event." "SEVIS record termination does not mean the F-1 student engaged in some

misconduct. It can occur even if the student is doing everything required to

maintain F-1 visa status." Exhibit 1 err 16.

      15.    Saxena's only criminal record is a 2021 conviction for violation of

S.D.C.L. § 32-31-6.l (failure to stop for emergency vehicle), a class 2 misdemeanor,

which occurred before her most recent visa was issued in 2022-and about which

Saxena informed the government before it issued her 2022 visa.


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      16.    A class 2 misdemeanor is not a deportable or inadmissible offense

under Immigration and Naturalization Act§ 237 (8 U.S.C. § 1227) or INA§ 212 (8

u.s.c. § 1182).
      17.    On April 9, 2025, School of Mines PDSO Beth Riley wrote the U.S.

Citizenship and Immigration Services, requesting that Saxena' s F-1 student status

be reinstated. She has not received a response.

      18.    As a result of defendants' unlawful actions, Saxena faces severe and

irreparable harm, including the following, all of which the government threatened

in its April 7 email:

             •          "[£Jines";

              •         "detention";

              •         "deportation";

              •         "ineligi[bility] for a future U.S. visa";

              •         "deportation ... at a time that does not allow [you] to secure

                        possessions or conclude affairs in the United States"; and

              •         "being deported ... to [a] countr[y] other than [your] countr[y]

                        of origin."




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      19.    Multiple national news reports show that the government's threats are

real. One example is a video of a Tufts University Ph.D. student in Child Study and

Human Development whose student F-1 visa was revoked on March 25, 2025, and

who the same day was taken into custody, without any notice, by six officers, some

in hoods and masks, who accosted her on the street, "surrounded her, took her cell

phone, placed her in handcuffs and took her away in an unmarked vehicle." Ozturk

v. Trump, 2025 U.S. Dist. Lexis 64831 * 4, _   F. Supp. 3d __, 2025 WL 1009445 (D.

Mass). The video is available at multiple locations on the internet, including

https://www.youtube.com/watch?v=HYwjMID2TY8. The next day, the government

flew her to Louisiana. Ozturk v. Trump, 2025 U.S. Dist. Lexis 64831 * 6.

      20.    These threats have caused Saxena ongoing severe anxiety, as they

would to any reasonable person.

      21.    Unlike the Tufts University graduate student and many other students

in the news, Saxena has not been involved in any political activity, has not attended

 any demonstrations, and has not made any statements about controversial public

matters.

      22.    In addition, Saxena has been informed by the South Dakota School of

Mines and Technology that because her SEVIS status has been revoked, she will not


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graduate with a Ph.D. degree on May 10, 2025, as previously scheduled. She has

worked toward a Ph.D. degree since 2020, and failure to receive it will cause her

irreparable harm.

      23.   Saxena has no administrative remedies available to her to avoid the

immediate harm defendants' actions have caused her.

      24.    The government's unilateral, unexpected, and spontaneous revocation

of her F-1 visa and subsequent termination of her SEVIS record (in turn, the

termination of her F-1 status) are final agency actions subject to judicial review.

      25.    Additional harms the government's actions, if unrestrained and

uncorrected, will cause Saxena in the future include but are not limited to:

             •      it will be much less likely that she will ever be allowed any

                    immigration status in the future, because the government's

                    actions have caused her immigration record to show failure to

                    maintain proper immigration status, which limits the pursuit of

                    other status types, even if she is otherwise fully eligible, see

                    generally 8 U.S.C. § 1258(a);

             •      it will be much less likely that she will ever be allowed entrance

                    into the United States in the future, because a prior visa denial


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                   affects the future ability to receive other visas, see generally 9

                   FAM 301.4, and even if a visa is issued, she may face problems

                   upon entry to the United States, given the extreme screening by

                   Customs and Border Protection based on a previous status

                   violation;

             •     that she will be in "unlawful presence" status in this country,

                   which includes potential penalties and collateral consequences,

                   including additional grounds for arrest and deportation, bars to

                   re-entering the United States and future visa refusals, among

                   other issues, see generally 9 FAM 301.4; and

             •      that she will be unable to apply for or receive additional benefits

                    that she is eligible for based on her student status, including

                   Optional Practical Training (OPT) under 8 CFR § 214.2(f)(10)(ii),

                    and the right to apply for a 24-month extension of post-

                    completion OPT for students with a degree in science,

                    technology, engineering, or mathematics(§ 214.2(f)(10)(ii)(C)).

       26.   This lawsuit challenges the government's unlawful termination of

 Saxena' s F-1 student status under the SEVIS system. Even if Saxena' s F-1 visa was


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 actually revoked, she does not challenge the revocation in this case-an issue which

 is separate from and different than the unlawful termination of her SEVIS status.

                                First Cause of Action

          Administrative Procedure Act- Unlawful SEVIS Termination

       27.    The government had no statutory or regulatory authority to terminate

 Saxena' s SEVIS record or status based on its revocation of her visa, and nothing else

 provides a basis for termination.

       28.    The government's termination of Saxena' s SEVIS record and status is

 arbitrary, capricious, an abuse of discretion, and not in accordance with law, in

 excess of statutory authority, and without procedure required by law.

                               Second Cause of Action

             Procedural Due Process- Unlawful SEVIS Termination

       29.    Once a student like Saxena is lawfully admitted to the United States in

 F-1 status, as she was, and complies with the requirements of that status, as she did,

 the continued registration of that student in SEVIS is governed by specific and

 mandatory regulations.

       30.    These regulations impose mandatory constraints on agency action, and

 because SEVIS registration is necessary for a person, such as Saxena, to remain


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 enrolled as an international student, she has a constitutionally protected property

 interest in her SEVIS registration.

       31.    The government terminated Saxena's SEVIS record and status based on

 improper grounds without prior notice and without providing her with an

 opportunity to be heard, all in violation of the due process clause of the Fifth

 Amendment.

                                   Request for Relief

       Priya Saxena requests a temporary restraining order, preliminary injunction,

 and permanent injunction:

       1.     Restraining the government from taking any enforcement action against

 her arising directly or indirectly from the unlawful termination of her SEVIS record

 and status and visa, until and unless allowed by further order of this Court;

       2.     Restraining the government from interfering in any way with her

 freedom during these proceedings, until and unless allowed by further order of this

 Court;

       3.     Restraining the government from transferring her out of the jurisdiction

 of the District of South Dakota during these proceedings, until and unless allowed

 by further order of this Court;


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        4.     Declaring that the government's termination of her SEVIS record and

 status were unlawful, vacating and setting aside those actions, and reinstating her

 SEVIS record and status, which will allow her to graduate on May 10;

        5.     Ordering the government to restore her SEVIS record and status;

        6.     Awarding costs and reasonable attorney fees pursuant to the Equal

 Access to Justice Act, 28 U.S.C. § 2412(b); and

        7.     Granting such further relief as the Court deems just and proper.

        Dated: April 17, 2025             Respectfully submitted,

                                          Isl James D. Leach
                                          James D. Leach
                                          Attorney at Law
                                          1617 Sheridan Lake Rd.
                                          Rapid City, SD 57702
                                          Tel: (605) 341-4400
                                          jim@southdakotajustice .com
                                          Attorney for Plaintiff

                                  Certificate of Service

         I certify that on April 17, 2025, before filing this document, I sent it by email
  to Alison J. Ramsdell, United States Attorney for the District of South Dakota, at
  alison.ramsdell@usdoj.gov.

                                          Isl James D. Leach
                                          James D. Leach




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JS 44 (Rev. 03/24)                                                       CIVIL COVER
                                                                       Document 1 Filed SHEET
                                                                                        04/17/25                                       Page 13 of 13 PageID #: 13
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTIWCT!ONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                             DEFENDANTS
             Priya Saxena                                                                                     Kristi Noem, in her official capacity as Secretary of
                                                                                                              Ho':7.:'.la~?. Securi~y; _t~e ~-~~a_rtment ?f Hon:iel~nd _~ec~rity;g
     (b) County of Residence of First Listed Plaintiff              ~P~e=n~n~i~n""g--=-to~n_____              County of Residence of First Listed Defendant
                                 (EXCEPT IN U.S. PLAINTIFF CASES)                                                                          (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                              NOTE:        IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                           THE TRACT OF LAND INVOLVED.

     ( C)   Attorneys (Firm Name, Address, and Telephone Numbe1~                                               Attorneys (If Known)

            James D. Leach/Attorney/1617 Sheridan Lake Rd/Rapid                                                Alison J. Ramsdell/US Attorney/PO Box 2638/Sioux Falls,
            City, SD 57702/605 341 4400                                                                        SD 57101/605 330 4400
II, BASIS OF JURISDICTION (Place an "X" in One Box Only)                                         III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an "X" In One Box for Plaintiff
                                                                                                          (For Diversity Cases Only)                                    and One Box for Defendanlj
01      U.S. Govemment                 03     Federal Question                                                                     PTF        DEF                                         PTF      DEF
           Plaintiff                            (U.S. Government Not a Party)                        Citizen of This State           D 1     D         Incorporated or Principal Place         D   4    D 4
                                                                                                                                                         of Business In This State

D2      U.S. Govemment                 04     Diversity                                              Citizen of Another State        D2      □ 2       Incorporated and Principal Place        □        Os
           Defendant                            (Indicate Citizenship of Parties in Item Ill)                                                             of Business In Another State

                                                                                                     Citizen or Subject of a         03      □         Foreign Nation                          □ 6      06
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IV. NATURE OF SUIT (Place an "X" in One Box Only)                                                                           Click here for: Nature of Suit Code Descri tions.
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D    152 Recovery of Defaulted                     Liability                 D 368 Asbestos Personal                                       835 Patent. Abbreviated             460 Deportation
          Student Loans                      340 Marine                                 Inju1y Product                                         New Drug Application            470 Racketeer Influenced and
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D    190 Other Contract                           Product Liability           D 380 Other Personal                720 Labor/Management                    ·JHW.£~                  Protection Act
D    19 5 Contract Product Liability         360 Other Personal                        Property Damage                Relations            861 HIA (1395ft)                    490 Cable/Sat TV
D    196 Franchise                                Injury                      D 385 Property Damage               740 Railway Labor Act    862 Black Lung (923)                850 Secmities/Commodities/
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     210 Land Condemnation                   440 Other Civil Rights               Habeas Corpus:                  791 Employee Retirement                                      893 Environmental Matters
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                                                  Other                            550 Civil Rights                                                                                State Statutes
                                             448 Education                         555 Prison Condition
                                                                                   560 Civil Detainee•
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                                                                                       Confinement
V, ORIGIN (Place an "X" in One Box Only)
D    I Original          D   2 Removed from               □ 3        Remanded from              D 4 Reinstated or      D       5 Transferred from     D    6 Multidistrict          D     8 Multidistrict
        Proceeding              State Court                          Appellate Court                Reopened                     Another District             Litigation •                    Litigation •
                                                                                                                       (specify)                              Transfer                        Direct File
                                         Cite the U.S. Civil Statute under which you are filing (Do not c/tejurisdictlo11al statutes 1111/ess diversity):
                                         Administrative Procedure Act and Fifth Amendment to the US Constitution
VI. CAUSE OF ACTION f -----------------------------------
                    Brief description of cause:
                                          Government has unlawfully terminated plaintiffs SEVIS status and she faces arrest and removal
VII. REQ VESTED IN                       0     CHECK IF THIS IS A CLASS ACTION                          DEMAND $                                     CHECK YES only if demanded in complaint:
     COMPLAINT:                                UNDER RULE 23, F.R.Cv.P.                                                                              JURY DEMAND:               □ Yes          0No

VIII. RELATED CASE(S)
      IF ANY                                  (See instructions):
                                                                      JUDGE          _ _ _ _ _ _ _ _ _ _ _ _ _ _ DOCKET NUMBER _ _ _ _ _ _ _ _ __

DATE
    04/17/2025
FOR OFFICE USE ONLY

     RECEIPT#                    AMOUNT                                      APPL YING IFP                                     JUDGE                           MAG. JUDGE
